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11                        IN THE UNITED STATES DISTRICT COURT
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                  WESTERN DIVISION
14
15       NOMADIX, INC.,                            Case No. CV19-10202
16                    Plaintiff,                   NOTICE OF DISMISSAL OF
17                                                 MICROCOM
               v.                                  TECHNOLOGIES, INC.
18
         SIA MIKROTĪKLS; MICROCOM
19                                                 Honorable Dean D. Pregerson
         TECHNOLOGIES, INC.; CREATIVE
20       WIRELESS, INC.; and GLOBAL IT
         COMMUNICATIONS, INC.,
21
22                    Defendants.

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     Case 2:19-cv-10202-DDP-E Document 38 Filed 07/17/20 Page 2 of 2 Page ID #:406




1                  PLEASE TAKE NOTICE that Plaintiff in the above-captioned case,
2       Nomadix, Inc., hereby dismisses Defendant Microcom Technologies, Inc., without
3       prejudice, pursuant to Rule 41(a)(1)(i) of the Federal Rules of Civil Procedure. The
4       Complaint was filed on December 2, 2019, and Defendant Microcom Technologies,
5       Inc. has yet to submit an answer to the Complaint or a motion for summary judgment.
6
7                                     Respectfully submitted,
8                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
9
10      Dated: July 17, 2020          /s/ Douglas G. Muehlhauser
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